     Case 4:15-cv-03495 Document 178 Filed in TXSD on 08/31/18 Page 1 of 13
                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                    IN THE UNITED STATES DISTRICT COURT               August 31, 2018
                     FOR THE SOUTHERN DISTRICT OF TEXAS              David J. Bradley, Clerk
                              HOUSTON DIVISION


ESTATE OF JORDAN BAKER, by             §
and through Administrator,             §
JANET BAKER,                           §
                                       §
       Plaintiff,                      §
                                       §
v.                                     §       CIVIL ACTION NO. H-15-3495
                                       §
JUVENTINO CASTRO, THE CITY             §
OF HOUSTON, RPI MANAGEMENT             §
COMPANY, LLC, and RPI                  §
INTERESTS I, LTD.,                     §
                                       §
       Defendants.                     §

                                     ORDER

       Pending before the court is Defendants’ Motion to Exclude

Expert Testimony of Jonathan Arden (“Dr. Arden”)(Doc. 108).                   The

court has considered the motion, all related briefing, the expert

report, and the applicable law.         For the reasons set forth below,

the court DENIES the motion.

                            I.    Case Background

       Plaintiff filed this action on December 2, 2015, against

Houston    Police    Department    Officer   Juventino    Castro   (“Officer

Castro”), the City of Houston, RPI Management Company, LLC, and RPI

Interests I, Ltd., alleging that they violated Decedent Jordan

Baker’s (“Decedent”) Fourth and Fourteenth Amendment rights on

January 16, 2014, by shooting Decedent on the basis of his race.
   Case 4:15-cv-03495 Document 178 Filed in TXSD on 08/31/18 Page 2 of 13



                            II.   Expert Opinion

      Plaintiff designated Dr. Arden as an expert in forensic

pathology to evaluate the crime scene evidence including: “(1) the

cause and manner of [Decedent’s] death; (2) the trajectory of the

gunshot wounds and whether the wound trajectory is consistent with

Officer Castro’s account of the shooting; (3) the firing range; (4)

[the] nature of injuries to [Decedent’s] body; and (5) whether

[Decedent] experienced conscious pain and suffering prior to his

death.”1

      In 1980, Dr. Arden received his doctor of medicine from the

University of Michigan.2       Upon receiving his degree, he trained in

anatomic pathology at New York University Medical Center and in

forensic pathology at the Office of the Chief Medical Examiner for

the State of Maryland.3

      The majority of Dr. Arden’s career was spent working for the

government including almost twenty years in the medical examiners’

offices for the cities of New York and Washington D.C.4              Dr. Arden

is currently the president of Arden Forensics, P.C., and works

part-time as a forensic pathologist for the Office of Chief Medical



      1
            See Doc 145, Pl.’s Resp. to Defs.’ Mot. to Exclude Expert Test. of
Dr. Arden, pp. 1-2.

      2
            See Doc. 108-2, Ex. B to Defs.’s Mot. to Exclude Expert Test. of Dr.
Arden, Dr. Arden’s Rep. of Consultation p. 1.

      3
            See id.

      4
            See id.

                                       2
   Case 4:15-cv-03495 Document 178 Filed in TXSD on 08/31/18 Page 3 of 13



Examiner for the State of West Virginia.5           Over the course of his

career, he has performed over 3,000 autopsies and is familiar with

cases involving gunshot wounds.6           In his deposition, Dr. Arden

acknowledged he is not a ballistics expert, although firearms are

central to his forensic pathology expertise.7

      In preparing his report, Dr. Arden reviewed numerous documents

including Plaintiff’s original complaint, autopsy reports from the

Harris     County   Institute   of   Forensic   Sciences,     Houston   Police

Department’s photographs and diagrams, surveillance videos, and

weather data from the day of the incident.8               Additionally, Dr.

Arden reviewed transcripts of depositions with exhibits taken from

the following people: Officer Castro, Roger Milton, M.D., and

Investigator Mirna Torres.9

      Based on the review of documents, Dr. Arden first provided a

brief synopsis of the incident that informed his preliminary

opinions.10    Dr. Arden then offered his analysis and opinions with

respect to the cause and manner of death.11              He agreed with the


      5
             See id.

      6
            See Doc. 108-1, Ex. A to Defs.’s Mot. to Exclude Expert Test. of Dr.
Arden, Dr. Arden’s Deposition pp. 24, 54.

      7
             See id. at 152.

      8
            See Doc. 108-2, Ex. B to Defs.’s Mot. to Exclude Expert Test. of Dr.
Arden, Dr. Arden’s Rep. of Consultation p. 2.

      9
             See id.

      10
             See id.

      11
             See id. at 3.

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   Case 4:15-cv-03495 Document 178 Filed in TXSD on 08/31/18 Page 4 of 13



Harris County Institute of Forensic Sciences medical examiner

(“ME”) that the gunshot wound to the chest caused a perforation of

the chamber of the heart, which is not uncommonly seen in homicide

deaths involving gunshot wounds to the chest.12

     Second, Dr. Arden expressed his opinion with respect to the

trajectory of the gunshot wound.          While Dr. Arden agreed with the

ME, Dr. Arden emphasized that the location of the gunshot wound was

predominantly     on   the   right   side   of   Decedent’s   body.13       The

positioning of the gunshot wound led Dr. Arden to conclude that

“Officer Castro had to have been aiming the gun at the entrance

wound location, and the gun had to be positioned off to the left

side of [Decedent], such that the bullet would follow the known

path predominantly to his right within his body.”14 This conclusion

departs from the account provided by Officer Castro who asserted

that Decedent was facing toward Officer Castro as he fired the

gun.15    Additionally, Officer Castro asserted that Decedent was

initially crouched before he started advancing toward Officer

Castro.16   According to Dr. Arden, Officer Castro’s account of the




     12
            See id.

     13
            See id. p. 4.

     14
            Id.

     15
            See id.

     16
            See id.

                                      4
   Case 4:15-cv-03495 Document 178 Filed in TXSD on 08/31/18 Page 5 of 13



scene would have indicated a greater downward component.17

     Another observation about the gunshot wound was that the range

between the muzzle of the gun and Decedent was, at a minimum,

approximately two to three feet.18         As reflected in the autopsy

report, the entrance of the wound was not coated with any gunpowder

residue.19    Thus, Dr. Arden opined that the absence of any residue

covering the skin surface or any intervening target demonstrated

that “[Decedent] was not in close proximity to Officer Castro when

he was shot.”20

     Dr. Arden’s fourth opinion involved the numerous abrasions

exhibited throughout Decedent’s body.21        Dr. Arden noted that some

of the abrasions were indicative of forceful scraping because of

the relatively deep and linear characteristics.22        According to Dr.

Arden, the contact with the ground after being shot would not

explain the multiple abrasions found on both sides of his face.23

Dr. Arden opined that the multitude of abrasions suggested the

occurrence of another interaction.24

     17
             See id.

     18
             See id.

     19
             See id.

     20
             Id.

     21
             See id.

     22
             See id.

     23
             See id. p. 5.

     24
             See id.

                                     5
   Case 4:15-cv-03495 Document 178 Filed in TXSD on 08/31/18 Page 6 of 13



       Dr. Arden’s last opinion stemmed from the significant amount

of blood loss that he concluded led to the “primary mechanism of

[Decedent’s] death.”25            Absent a severe head wound that would have

rendered him unconscious, Dr. Arden opined, Decedent “consciously

experienced the pain of the gunshot wound, especially the body wall

soft tissue injuries and the rib fractures, which are notably

painful injuries.”26              Dr. Arden noted that his observation was

consistent with the scene of the incident that showed a trail of

blood leading to Decedent’s body in the alley as he “mov[ed] away

from the threat before collapsing.”27

       Pursuant to the crime scene photographs and diagrams, Dr.

Arden opined that the positioning of the body and the trail of

blood       was    inconsistent     with     Officer   Castro’s      account   of   the

incident, which asserted that Decedent was approximately seven to

eight feet away when the shot was fired.28                   Dr. Arden found it more

plausible that “[Decedent] was in the alley, approximately fifty

feet        away    from    the   officer,    when     the    shot   was   fired.”29

Accordingly, Dr. Arden noted that “[Decedent] would have begun to

bleed externally upon having been shot[] and would have deposited



       25
                  Id.

       26
                  Id.

       27
                  Id.

       28
                  See id.

       29
                  Id.

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   Case 4:15-cv-03495 Document 178 Filed in TXSD on 08/31/18 Page 7 of 13



a blood trail along his movements (if any) until he collapsed and

died.”30   Dr. Arden averred that this “noteworthy” observation

supports the conclusion that Decedent was approximately fifty feet

away from Officer Castro.31

                          III.   Legal Standard

     Under the Federal Rules of Evidence and related case law, an

expert may be qualified by “knowledge, skill, experience, training,

or education.”    Fed. R. Evid. 702.      “To qualify as an expert, the

witness must have such knowledge or experience in [his] field or

calling to make it appear that his opinion or inference will

probably aid the trier in [the] search for truth.”           United States

v. Hicks, 389 F.3d 514, 524 (5th Cir. 2004)(quoting United States

v. Bourgeois, 950 F.2d 980, 987 (5th Cir. 1992).         If an opinion is

based solely or primarily on experience, it “must be grounded in an

accepted body of learning or experience in the expert’s field.”

Fed. R. Evid. 702, advisory committee’s note, 2000 Amends.                  The

witness must connect the experience to the conclusion offered, must

explain why the experience is a sufficient basis for the opinion,

and must demonstrate the appropriateness of the application of the

experience to the facts.      Id.

     Although an expert need not be highly qualified to testify on

a given topic, his testimony on subjects in which he is not


     30
           Id.

     31
           Id.

                                     7
      Case 4:15-cv-03495 Document 178 Filed in TXSD on 08/31/18 Page 8 of 13



qualified must be excluded.         Huss v. Gayden, 571 F.3d 442, 452 (5th

Cir. 2009).      An additional limitation on expert witnesses is that

they may not offer conclusions of law.                 C.P. Interests, Inc. v.

Cal. Pools, Inc., 238 F.3d 690, 697 (5th Cir. 2001)(citing Owen v.

Kerr McGee Corp., 698 F.2d 236, 240 (5th Cir. 1983)).

        The expert’s testimony must be both relevant and reliable.

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999); Smith v.

Goodyear Tire & Rubber Co., 495 F.3d 224, 227 (5th Cir. 2007); see

also Fed. R. Evid. 702 & advisory committee’s note, 2000 Amends.

The     burden   of   establishing    this      predicate     for   the    expert’s

testimony falls on the party producing the expert.                   See Moore v.

Ashland Chem. Inc., 151 F.3d 269, 276 (5th Cir. 1998).                    The trial

court has the responsibility of determining whether that party has

met its burden.       Fed. R. Evid. 104(a); Mathis v. Exxon Corp., 302

F.3d 448, 459-60 (5th Cir. 2002); see also Daubert v. Merrell Dow

Pharms.,      Inc.,   509   U.S.   579,       589   (1993).    The    court    also

determines, as a matter of law, whether the expert is qualified to

testify on the subjects on which he offers opinions.                  Mathis, 302

F.3d at 459.      The trial judge has “wide latitude in determining the

admissibility of expert testimony;” yet, “the rejection of expert

testimony is the exception rather than the rule.”                   Fed. R. Evid.

702, advisory committee’s note, 2000 Amends.; Wilson v. Woods, 163

F.3d 935, 936-37 (5th Cir. 1999)(quoting Watkins v. Telsmith, Inc.,

121 F.3d 984, 988 (5th Cir. 1997)).


                                          8
   Case 4:15-cv-03495 Document 178 Filed in TXSD on 08/31/18 Page 9 of 13



       To be relevant, the testimony must assist “the trier of fact

to understand the evidence or to determine a fact in issue.”                   Fed.

R. Evid. 702; see also United States v. Hicks, 389 F.3d 514, 524

(5th Cir. 2004); Daubert, 509 U.S. at 591.                The Federal Rules of

Evidence define relevant evidence as that which “has any tendency

to make a fact more or less probable than it would be without the

evidence” and “the fact is of consequence in determining the

action.”   Fed. R. Evid. 401.          In other words, the expert testimony

must be applicable to the facts in issue.                 Daubert, 509 U.S. at

592-93.

       Reliability hinges on the sufficiency of the facts or data

upon   which   the    opinion     is    based,   the    dependability     of   the

principles and methods employed, and the proper application of the

principles and methods to the facts of the case.              See Fed. R. Evid.

702.    The trial judge must make certain that the expert applied

“the same level of intellectual rigor that characterizes the

practice of an expert in the relevant field.”                  Kumho Tire Co.,

Ltd., 526 U.S. at 152.

                                IV.    Discussion

       Defendant     challenges    Dr.    Arden’s      qualifications    and    the

reliability of his opinions regarding the bullet trajectory, pain

and suffering, blood spatter, and running movements.                    Plaintiff

disagrees on all points and contends that Dr. Arden is qualified to

opine on all of these issues.


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     Case 4:15-cv-03495 Document 178 Filed in TXSD on 08/31/18 Page 10 of 13



A.     Qualifications

       Defendant asserts that Dr. Arden is “not qualified to provide

opinion testimony that will help the jury understand the physical

evidence or determine any material fact in issue in this case.”32

According to Defendant, Dr. Arden’s lack of ballistics and scene-

reconstruction expertise renders him unqualified to offer expert

testimony that will assist the jury.

       In response, Plaintiff argues that Dr. Arden is qualified to

“draw conclusions about the direction of the bullet’s travel

relative to [Decedent’s] body at the time of the shooting” based on

his    lengthy    training      in    medicine     and   forensic   pathology.33

Plaintiff concedes that Dr. Arden is not an expert in scene

reconstruction, however, his testimony is not offering a scene

reconstruction.34

       The court notes that Dr. Arden is very well qualified by

experience and education to discuss the anatomical positioning of

the wound.      He is also qualified to express his opinion on whether

the wound is consistent with Officer Castro’s account of the

incident.        The       majority    of    Dr.   Arden’s   opinion    uses   the

characteristics of the bullet wound to determine the distance

between Decedent and Officer Castro.                This determination is well

       32
              Doc. 108, Defs.’ Mot. to Exclude Expert Test. of Dr. Arden p. 2.

       33
              Doc. 145, Pls.’ Resp. to Defs.’ Mot. to Exclude Expert Test. of Dr.
Arden p. 6.

       34
              Id. p. 11.

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     Case 4:15-cv-03495 Document 178 Filed in TXSD on 08/31/18 Page 11 of 13



within Dr. Arden’s scope of expertise.

       Dr.   Arden’s    lack   of   ballistic    and   scene-reconstruction

expertise may limit the weight of his report, but it does not

provide a reason for striking the report.              See Fed. R. Civ. P.

26(a)(2)(B) (“The report must contain . . . a complete statement of

all opinions the witness will express and the basis and reasons for

them . . . .”); Hacienda Records, L.P. v. Ramos, No. CV 2:14-19,

2016 WL 3543241, at *3 (S.D. Tex. June 29, 2016)(unpublished)(“As

a general rule, questions relating to the bases and sources of an

expert’s opinion affect the weight to be assigned to that opinion

rather than its admissibility and should be left for the jury’s

consideration.”)(quoting United States v. 14.38 Acres of Land, More

or Less Sit. in Leflore Cnty., Miss., 80 F.3d 1074, 1077 (5th Cir.

1996).

       Therefore, Dr. Arden’s expert testimony regarding the bullet

wound is properly grounded in his qualifications.

B.     Reliability

       Defendant challenges Dr. Arden’s ability to provide reliable

testimony by arguing that his opinions are based on speculation

rather than dependable methods or principles. However, Dr. Arden

established a connection between his years of experience as a

medical examiner to his conclusions and demonstrated that his

experience and knowledge can be applied to the facts of this case.

Thus, it is not necessary for Dr. Arden to rely on a scientific


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   Case 4:15-cv-03495 Document 178 Filed in TXSD on 08/31/18 Page 12 of 13



theory or technique to make his testimony reliable.

      Defendant asserts that Dr. Arden “offers speculative testimony

on [Decedent’s] pain and suffering that is not helpful to the jury.

. . . [w]ithout reciting any factual, medical or well-researched

basis for his opinions.”35          Plaintiff disagrees by arguing that the

testimony is needed for the jury to calculate damages pursuant to

Plaintiff’s survival claim and is based on evidence gathered by

Defendant’s own scene examiner.                Moreover, Plaintiff cites Dr.

Arden’s expertise as a medical doctor, which “allow[s] him to give

non-speculative opinions on matters of consciousness and pain.”36

      Dr. Arden discussed the facts that he considered and cited the

autopsy report he used to conclude the magnitude of the pain and

suffering.        He agreed with the medical examiner that the primary

cause      of   death    was   blood   loss    from   the   gunshot    wound   and

acknowledged that his conclusions reflect his understanding of

medicine and the evidence.

      Lastly, Defendant challenges Dr. Arden’s trail of blood and

running movement testimony as unfounded and unhelpful to the jury

in any material matter.           Plaintiff disagrees by pointing out that

both Defendant’s and Plaintiff’s reconstruction experts agree that

“the most probable location of [Decedent] when he was shot was near



      35
                Doc. 108, Defs.’ Mot. to Exclude Expert Test. of Dr. Arden p. 7.

     36
                Doc. 145, Pls.’ Resp. to Defs.’ Mot. to Exclude Expert Test. of Dr.
Arden p. 16.

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  Case 4:15-cv-03495 Document 178 Filed in TXSD on 08/31/18 Page 13 of 13



where the blood trail began.”37 Dr. Arden’s opinions are consistent

with both reconstruction experts’ conclusions in that the location

of the blood trails reflect the location and the movement of the

deceased before he died. Moreover, Dr. Arden acknowledges that the

account of the incident in his report is based on the factual

evidence he reviewed.

     Because Dr. Arden’s opinion is grounded in facts and evidence,

the court rejects Defendant’s argument that Dr. Arden’s opinions

are not the product of reliable principles and methods.

                             V.   Conclusion

     Based on the foregoing, the court DENIES the motion.

     SIGNED in Houston, Texas, this 31st day of August, 2018.




                                               ______________________________
                                                  U.S. MAGISTRATE JUDGE




     37
          Id. p. 17.

                                    13
